
FOURNET, Chief Justice.
The issue in this case is identical with the one disposed of this day in State v. Bellande, 241 La. 213, 128 So.2d 14, nevertheless we are without appellate jurisdiction1 since no jail sentence was imposed by the court below and the fine actually imposed did not exceed $300.2 See State v. Shelton, 227 La. 27, 78 So.2d 498, and cases therein cited.
The appeal is dismissed.

. La.Const. Art. 7, Sec. 10 provides: “ * * * The following cases only shall be appealable to the Supreme Court; * * * (5) Criminal cases in which the penalty of death or imprisonment at hard labor may be imposed, or in which a fine exceeding three hundred dollars or imprisonment exceeding six months has been actually imposed.” (Emphasis supplied.)


. The defendant herein entered a plea of guilty as charged with violation of R.S. 56:497 [trawling in inside waters in closed season] and was sentenced to pay a fine of $200 and costs or to serve 15 days in the Parish jail. The court also ordered the trawl nets and other paraphernalia forfeited.

